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%A0 245D       (Rev. 12103) Judgment in a Criminal Case for Revocations
               Sheet 1




                        SOUTHERN                                     District of                                   ILLINOIS

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                               v.                                           (For Revocation of Probation or Supervised Release)
                     TONY L. HARRIS




THE DEFENDANT:
                                                                            Case Number: 4:01CR40017-003-JPG
                                                                            USM Number: 05303-025
                                                                             Melissa A. Day, FPD
                                                                            Defendant's Attorney
                                                                                                                                 a,
@f admitted guilt to violation of condition(s) as alleged in petition                         of the term of
     was found in violation of condition(s)                                               after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                              Violation Ended
 Statutow                            The defendant committed the offense of Retail Thefl                              2/9/2007

 %''Pfd          '                   The defendant failed to make monUlly payments ets ordered                        1213012006
 Standard #9                         The defendant associated with a convicted felon                                  2/28/2007
 Standard #1I                        The defendant failed to report wntect w~thlaw enforcement                        2/28/2007
       The defendant is sentenced as provided in pages 2 through                   4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated conditionis)                                       and is discharged as to such violation(s) condition.

           It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
                                                          '?i
change of name, residence, or mailing address unt~all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa!d. If ordered to pay restitution, the defendant must notify the court and United States attorney of mater~alchanges in
economlc clrcumstances.

Defendant's Soc. Sec. No.:     -5565                                         411 812007
Defendant's Date of Birth:     1 9 8 2


Defendant's Residence Address:

Mt. Vernon, IL
                                                                             J . Phil Gilbert                                 District Judge
                                                                            Name of Judge                                  Title of Judge




Defendant's Mailing Address:

S a m e as above
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               Sheet 2- Imprisonment
                                                                                                                           -
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 DEFENDANT: TONY L. HARRIS
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                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of :
24 months




            The court makes the following recommendations to the Bureau of Prisons:




      @ The defendant is remanded to the custody of the United States Marshal.
            The defendant shall surrender to the United States Marshal for this district:
                 at                                        a.m.          p.m.    on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                                         RETURN
  I have executed this judgment as follows:




            Defendant delivered on                                                        to

 at                                                      with a ceaified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                                By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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             Sheet 3 -Supervised   Release


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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
36 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull possess a controlled substance. The defendant shal! refrain from any unlawful use of a controlled
substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@f The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a f ~ orerestitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule of)~aymentssheet of thls judgment.
          The defendant must comply with the standardconditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officee
  2)    the defendant shall report to the probation oficer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation ofticer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation oficer at least ten days prior to any change in residence or employment;
  7)    the defendant shall rcfrain irom cxcessiye utu oialcohol and shall 1101 purchase, posscss, ttsr.. distributr., or ~dmjnisteran)
        controlled substance or an) paraphernal~arelared to an). controlled suhatancei, cucept as prescnbcd h) a phys~c~on:
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the dckndant shdl not associate with any persons cngagc? in criminal activity and shall not associate \r ith any person convicted of
        a ieluny, unless grantcd permiss~onto do so b] the prubdtion officer:
 10)    the defendant shall p e y i t a,probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plaln view of the prohat~onofficer;
 11)    the defendant shall notify the probation officer within seventy-two hours of beingarrestedor questioned by alaw enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the robation officer, the defendant shall notify!hird parties of risks that may be occasioned by +e defendant's criminal
        record or persona? history or character~stlcsand shall permit the probation officer to make such notlficatlons and to confirm the
        defendant s compliance with such notification requirement.
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           Sheet 3C - Supervised Release


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                                        SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility, or residential reentry center. The number of durg tests
shall not exceed 52 tests in a one-year period. Any participation will require complete abstinence from all alcoholc
beverages. The defndant shall pay for the costs asociated with substance abuse counseling andlor testing based on a
co-pay sliding fee scale as directed and approved by the United States Probation Office. Co-pay shall never exceed the
total costs of counseling.
